Case 3:11-cr-00023-M         Document 310        Filed 09/20/12       Page 1 of 1     PageID 1163



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

FRED TAYLOR,                                      )
ID # 42230-177,                                   )
                        Movant - Defendant.       )
vs.                                               )           No. 3:11-CR-0023-M (06)
                                                  )
UNITED STATES OF AMERICA,                         )
               Respondent.                        )           Referred to U.S. Magistrate Judge

           ORDER ACCEPTING BOTH FINDINGS AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

         After reviewing all relevant matters of record in this case, including the Findings, Conclu-

sions, and Recommendation of the United States Magistrate Judge, entered July 31, 2012, and

August 14, 2012, for plain error, I am of the opinion that both of the Findings and Conclusions of

the Magistrate Judge are correct and they are both accepted as the Findings and Conclusions of the

Court.

         For the reasons stated in the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge, entered on July 31, 2012, and August 14, 2012, the Court hereby DENIES

with prejudice the movant's motion to reduce his sentence, filed July 19, 2012, and movant’s second

motion to reduce his sentence, filed August 7, 2012, pursuant to 18 U.S.C. § 3582(c)(2) (doc. 306).

         In the event that the movant files a notice of appeal, he is informed that he must pay the

$455.00 appellate filing fee or submit a motion to proceed in forma pauperis that is accompanied

by a properly signed certificate of inmate trust account.

         SIGNED this 20th day of September, 2012.



                                               _________________________________
                                               BARBARA M. G. LYNN
                                               UNITED STATES DISTRICT JUDGE
                                               NORTHERN DISTRICT OF TEXAS
